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   THOMA.SDGIS T R ICT COURT   UNITED STATES DISTRICT COURT
CLERK, U .S
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

       UNITED STATES OF AMERICA                                     Judge Ronald A. Guzman
                                                 Case No. 18 CR 611 Magistrate Judge Jeffrey Cummings
             v.
                                                 Violations: Title 18, United States
                                                 Code, Sections 37 7, 951(a), 1001(a)(2),
       JI CHAOQUN                                and 1343

                                                 SUPERSEDING INDICTMENT

                                         COUNT ONE

            The SPECIAL JULY 2021 GRAND JURY charges:

            1.     At times material to this indictment:

                   a.     JI CHAOQUN was a citizer, of the People's Republic of China.

                   b.     On or about August 28, 2013,     JI CHAOQUN arrived in the U.S.
     on a visa.

                   c.    The Ministry of State Security ("MSS") was the intelligence and

     security agency for the People's Republic of China, and was responsible for counter-

     intelligence, foreign intelligence, and political security. The Jiangsu Province

     Ministry of State Security ("JSSD") was a regional foreign intelligence arm of the

     MSS, headquartered in Nanjing, China.

                   d.    Intelligence Officer A was a representative of the MSS.

                   e.    The Military Accessions to Vital National Interest ('MA\rNI")

     Program authorized the United States Army to recruit individuals who were not

     United States citizens, but were legally present in the United States. The program

     provided potentially expedited citizenship to the recruited individuals.
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             f.      Absent a lawful exception, individuals who agreed to operate

within the United States subject to the direction and control of a foreign government

were required to provide prior notification to the Attorney General.

             g.      Companies A, B, and C were United States-based companies that

offered certain services for United States-based consumers, such as the purchase of

background reports on individuals that included their personal information.

      2.     Beginning no later than on or about January 13, 2013, to on or about

September 25,2018, at Chicago, in the Northern District of Illinois, and elsewhere,

                                   JI CHAOQUN,

defendant herein, conspired with Intelligence Officer       A and others known and
unknown to the Grand Jury to commit an offense against the United States, namely,

to knowingly act in the United States as an agent of a foreign government, namely,

the People's Republic of China, without prior notification to the Attorney General of

the United States as required by law, in violation of Title 18, United States Code,

Section 951(a).

      3.     It   was a part of the conspiracy that   JI   CHAOQUN agreed to assist

Intelligence Officer A and the People's Republic of China by covertly serving as an

agent of the People's Republic of China while residing in the United States.

      4.     It was further part of the conspiracy that in        2013 and 2014, JI

CHAOQUN traveled from Chicago         to Beijing, China to meet with     Intelligence

Officer A.
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      5.     It   was further part of the conspiracy that during   JI CHAOQUN's trips
to the People's Republic of Chirra in 2013 and2014, he met with Intelligence Officer A

for the purpose of discussing and planning     JI CHAOQUN's role as an agent of the
People's Republic of China.

      6.     It was further part   of the conspiracy that while in the United States,   JI

CHAOQUN communicated with Intelligence Officer A, including by email and text

message.

      7.     It was further part of the conspiracy that Intelligence Officer            A

instructed JI CHAOQUN to obtain from Companies A, B, and C background reports

of multiple individuals in order to circumvent restrictions set by Companies A, B, and

C on purchases made outside of the United States.

      8.     It was further part   of the conspiracy that while in the United States,   JI

CHAOQUN purchased and obtained background reports requested by Intelligence

Offi.cer A of certain naturalized United States citizens, who were born in Taiwan or

China and worked in the United States at companies in the science and technology

industry.

      9.     It   was further part of the conspiracy that   JI   CHAOQUN emailed the

background reports to Intelligence Officer A     in a manner that disguised the true
nature of the reports and that Intelligence Officer A was the intended recipient of the

email and background reports.
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        10. It was further part of the conspiracy      that JI CHAOQUN was provided

money by Intelligence Officer A as compensation and to reimburse          JI CHAOQUN for

expenses     JI CHAOQUN incurred in obtaining the background          check reports.

        11. It       was further part of the conspiracy that    JI   CHAOQUN concealed,

misrepresented, and hid and caused to be concealed, misrepresented, and hidden, the

existence and purpose of the conspiracy and the acts done            in furtherance of the
conspiracy.

                                        Overt Acts

        72. In furtherance      of the conspiracy and to effect its objects and purposes,

JI CHAOQUN committed and caused to be committed the following overt acts, among

others, within the Northern District of Illinois and elsewhere:

                a.      Between on or about December 9, 2073, and on or about JuIy 6,

2014,   JI   CHAOQUN traveled between Chicago and Beijing, China on multiple

occasions.

               b.       On or about December 18, 2013,   JI CHAOQUN and Intelligence
Offi.cer A met   in China.

               c.       On or about January L0, 2014,    JI   CHAOQUN and Intelligence

Officer A met in China.

               d.       From on or about August 25, 2015, through on or about
August 3l,20L5,Intelligence Officer A and JI CHAOQUN exchanged text messages

in which Intelligence Officer A directed JI CHAOQUN to send Intelligence Offi.cer A

the background reports.
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               e.     On or about August 30, 2015, while he was in the United States,

JI CHAOQUN purchased background reports from Companies A, B, and                 C.

                      On or about August 30, 2015, JI CHAOQUN made                       the

background check information available           to Intelligence   Offi.cer   A in an email
addressed to a third party.

               g.     On or about September 18, 2015, while he was             in the United
States,   JI CHAOQUN purchased      a background report from Company A.

               h.     On or about September 18, 2015, JI CHAOQUN made
background check information available           to Intelligence Officer A in an      email

addressed to a third party.

      A1l   in violation of Title 18, United States   Code, Section 371.




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                                    COUNT TWO

      The SPECIAL JULY 2021 GRAND JURY further charges:

      1.     Paragraph 1 of Count One is incorporated here.

      2.     From on or about August 28,20L3 to on or about September 25,2018, at

Chicago, in the Northern District of Illinois, and elsewhere,

                                   JI CHAOQUN,

defendant herein, did knowingly act in the United States as an agent of a foreign

government, namely the People's Republic of China, without prior notification to the

Attorney General, as required by law;

      In violation of Title 18, United States Code, Section 951(a).
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                                   COUNT THREE

        The SPECIAL JULY 2021 GRAND JURY further charges:

        1.     Paragraphs 1(a)-(e) of Count One are incorporated here.

        2.    At times material to this indictment:

               a.    An F-l visa permitted a foreign national to study in the United

States at university, college, or other academic institutions. Before applying for an F-

1   visa, students had to first be accepted by a Student and Exchange Visitor Program

("SEV;'"; approved school. After the SEVP-approved school accepted a foreign

national as a student, the student had to be registered in the Student and Exchange

Visitor Information System ("SEVIS"). The SEVP-approved school issued the student

a Form I-20 "Certificate of Eligibility for Nonimmigrant Student Status - For
Academic and Language Students."

              b.     On or about August 22, 2013,     JI   CHAOQUN was issued a       F-l
visa, and on August 28,2013, JI CHAOQUN arrived in the U.S. on that F-l visa for

the purpose of attending the Illinois Institute of Technology in Chicago, Illinois.

              c.     The Optional Practical Training ("OPT") was             temporary

employment that was directly related to an F-1 visa-holder's major area of study that

could be completed before and/or after completion of the studies for up to one year.

An F-1 visa-holder who received a science, technology, engineering, and mathematics

degree could extend participation in the OPT program for up to an additional 2years.

A student had to submit a Form I-983 Training Plan for STEM OPT Students in order

to apply for the STEM OPT extension.
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             d.       The Standard Form 86 ('SF-86") was a security clearance

application form used by the United States Government in conducting background

investigations of persons under consideration for enlistment into the United States

Army and for individuals requiring eligibility for   access   to classified information.

      3.     Beginning no later than on or about October 2, 20L5, and continuing

until on or about September 25,2018, at Chicago, in the Northern District of Illinois,

and elsewhere,

                                     JI CHAOQUN,

defendant herein, devised and intended to devise, and participated in, a scheme to

defraud the United States Army of money and property by means of materially false

and fraudulent pretenses, representations, promises, and the concealment of
material facts, which scheme is further described in the following paragraphs:

      4.     It   was part of the scheme that on or about May 20, 20L6,     JI CHAOQUN

signed and submitted an enlistment contract in order to join the United States Army

as a means to obtain United States citizenship.

      5.     It   was further part of the scheme that on or about June 6, 2016,

JI CHAOQUN submitted an SF-86 as part of the background investigation to enlist
in the United States Army. In Section 20B of the SF-86, defendant stated that in the

past seven years he did not have any contact with a foreign government or its

representatives, inside or outside the United States, well knowing            that he   had

communicated      with Intelligence Officer A, including meeting with          Intelligence

Officer A in China.



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       6.       It   was further part of the scheme that in order to maintain his lawful

status in the United States, which was necessary for his successful enlistment into

the United States Army, to be paid by the United States Army, and to obtain United

States citizenship through the MAVNI program, on or about November 28,2016, JI

CHAOQUN extended his           F-l visa via the OPT program by submitting    a Form I-983

Training Plan to the University he had attended, stating that he was employed by

Company D in Chicago, Illinois, when he knew he did not work for Company D.

       7.       It   was further part of the scheme that on or about January 9,2017,

JI CHAOQUN signed a Form I-20 certi$,ing that he was employed by Company D in

Chicago, Illinois, when he knew that he did not work for Company D.

      8.        It   was further part of the scheme that starting in or around April 2017,

JI CHAOQUN began working for the United States Army Reserves and he was paid

for his work.

      9.        It further was part   of the scheme that on or about December 6, 2017 , JI

CHAOQUN was interviewed as part of the background investigation for his

application to enlist with the United States Army, during which he stated that he

was residing in the United States on an F-1 visa, and submitted in support, among

other things, his January 9, 2017 Form I-20, which fraudulently listed his
employment at Company D.

       10. It was further part of the scheme that on or about December 6, 2017,
JI CHAOQUN submitted to the United States Army the answer "No" to the following

written question, "Have you, a relative or yours, or an associate of yours, ever been a


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member, supporter, or representative of any of the organizations listed below?" after

which the following organizationwas listed: "Ministry of State Security O{SS)," when

defendant knew that Individual A was a representative or supporter of the MSS.

       11. It was further part of the scheme that JI             CHAOQUN concealed,

misrepresented and hid, and caused to be concealed, misrepresented and hidden, the

existence and purpose of the scheme, and acts done in furtherance of the scheme.

       12.   On or about January 3, 2018, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                    JI CHAOQUN,

defendant herein, for the purposes of executing the scheme, knowingly caused to be

transmitted by means of wire communication           in interstate commerce, certain
writings, signs, signals, and sounds, namely, a communication relating to an
electronic funds transfer in the amount of $140.89, which funds were transferred to

Illinois, by way of a location outside Illinois, which funds represented   a   payment from

the United States Army to JI CHAOQUN for his work with the United States Army

Reserves.

      In violation of Title 18, United States Code, Section 1343.




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                                    COUNT FOUR

      The SPECIAL JULY 2021 GRAND JURY further charges:

       1.    Paragraphs 1-11 ofCount Three are incorporated here.

       2.    On or about June 1,2018, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                    JI CHAOQUN,

defendant herein, for the purposes of executing the scheme, knowingly caused to be

transmitted by means of wire communication           in interstate commerce, certain
writings, signs, signals, and sounds, namely, a communication relating to an

electronic funds transfer in the amount of $335.22, which funds were transferred to

Illinois, by way of a location outside Illinois, which funds represented   a   payment from

the United States Army to JI CHAOQUN for his work with the United States Army

Reserves.

      In violation of Title 18, United States Code, Section 1343.




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                                  COUNT FIVE

      The SPECIAL JULY 2021 GRAND JURY further charges:

      1.     Paragraph 2(d) of Count Three is incorporated here.

      2.    At times material to this indictment:

             a.    The United States Department of Army was conducting            a

background investigation of JI CHAOQUN as part of his desire to enlist in the United

States Army, which investigation included   JI CHAOQUN completing an SF-86 form.

            b.     The following matter, among others, was material to that United

States Department of Army's background investigation of JI CHAOQUN: whether JI

CHAOQUN had any contacts with a foreign government or its representatives within

the previous seven years.




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       3.     On or about June 6,2016, at Chicago, in the Northern District of lllinois,

and elsewhere,

                                     JI CHAOQUN,

defendant herein, did knowingly and willfully make materially fa1se, fictitious, and

fraudulent statement and representation in a matter within the jurisdiction of the

United States Department of the Army, an agency within the executive branch of the

Government of the United States, when defendant,          in   Section 20B of the SF-86,

answered "No" to the following question: "Have you or any member of your immediate

family in the past seven years had any contact with a foreign government, its

establishment (such as embassy, consulate agency, military service            or security
service, etc.) or its representatives, whether inside or outside the U.S.?," when in fact,

as defendant then knew,   that answer was false;

      In violation of Title 18, United States Code, Section 1001(aX2).



                                                A TRUE BILL:



                                                FOREPERSON




Steven J. Dollear on behalf of the
UNITED STATES ATTORNEY




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